                ,,
" . ;;     .     I
  U.S. Department of Justice                                                                                         PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                                                     See "Instructions for Service ofProcess by U.S.. Marshal"


    PLAINTIFF                                                                                                                                                         COURT CASE NUMBER
    Dervan Brown                                                                                                                                                     5:18-CT-3357-FL
   DEFENDANT
    Nurse Lyndsey
                              NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRI                                                                                                                           CONDEMN

       SERVE   NURSELYNDSEY                             ·
          AT { ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)
                              Southern Health Partners, 285 T Kemp Rd, Louisburg, NC 27549
    SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW


                      J~rvan Brown 0780235                                                                                                                      Number of parties to be
                       Central Prison                                                                                                                           served in this case                        1
                       1300 Western Blvd.
                       Raleigh, NC 27606                                                                                                                        Check for service

   ........................................ ____ .................................................................................. _____ .....................................................................................................
                         L                                                                                                                          on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses.
       All Telephone Numbers, and Estimated Times Available for Service):
Fold                                                                                                                                                                                                                                   Fold




    Signature of Attorney other Originator reJjuestjng sei:vice on behalf of:                                         0    PLAINTIFF                     TELEPHONE NUMBER                                    DATE
   Peter A. Moore, Jr., CLerk or Court
   by M. Castania, Deputy Clerk                                                                                      •     DEFENDANT                       252-63 8-7 508                                      7/19/19

         SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
    I acknowledge receipt for the total                  Total Process          District of           District to                                                                                                       Date
    number of process indicated.
    (Sign only for USM 285 ifmore
    than one USM 285 is submitted)
                                                                                Origibb
                                                                                No. _ _                                                                                                                                1   f!,/19
    I hereby certify and return that I D have personally served, D have legal evidence of service, gha e executed as shown in "Remarks", the process described
    on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

       D       I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
    Name and title of individual served (if not shown above)                                                                                                              D     A person of suitable· age and discretion
                                                                                                                                                                                then residing in defendant's usual place
                                                                                                                                                                                of abode
    Address (complete only different than shown above)                                                                                                                                                    Time
                                                                                                                                                                                                                                     Dam
                                                                                                                                                                                                                                     D pm


    Service Fee                Total Mileage Charges Forwarding Fee                              Total Charges                Advance Deposits                Amount o     to U.S. Marshal* or
                               including endeavors)                                                                                                           (Amount of Refund*)

               .oo                                                                                ~. OD                                                           -goo
    REMARKS:
                           _CERTIFIED MAIL ]O/'( '3'f9'0 {)Oc;b 7V6 5                                                                    ~9~
                            SEE PS FORM 3811 OR USPS TRACKING
                                                                                                                                                                FILED
       PRINT 5 COPIES:             1. CLERK OF THE COURT                                                                          PRIOR EDITIONS MAY BE USED
                                   2. USMS RECORD                                                                                                           JUL 2 6 2019
                                   3. NOTICE OF SERVICE
                                   4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment.PETER A. MOORE JR., CLERK
                                      if any amount
                                   5. Case
                                      ACKNOWLEDGMENT
                                                    is owed. Please remit promptly
                                               5:18-ct-03357-FL                    payable to U.S. Marshal.
                                                               OF RECEIPT Document 15 Filed 07/26/19
                                                                                                              US D1S~RT, EDNC
                                                                                                                         Page
                                                                                                            BY _ __,,....,,     1 CU<
                                                                                                                           ___ DEP of 2            Form USM-285
                                                                                                                                                       Rev. 12/80(;}
                                                                                                                                                                                                                                                  £
 •  Completeitem&1,2,and3.            5:1e-cT- 35
 •  Print your name and address on the reverse
    so tha~ We can return the card to you •.·
 • Attach this card to the back of the mailpie
    or on·the. front if space. permits.
 1. Miele Addressed to:
      , NURSE LYNDSEY
     , Southern Health Partners
     : 285 T Kemp Rd
        Louisburg, l\ic 27549



       1111111111111111111 II IIll 111111111111111 III
         9590 9402 3417 7227 1533 85
                                                         Ill
     Case 5:18-ct-03357-FL Document 15 Filed 07/26/19 Page 2 of 2
. PS Form 3811, July 2015 PSN 7530-02-000-9053       .Domestic Return Receipt   :
                                                                        _ ___J
